
220 Md. 667 (1959)
155 A.2d 68
SHIFFLETT
v.
WARDEN OF MARYLAND PENITENTIARY
[P.C. No. 10, September Term, 1959.]
Court of Appeals of Maryland.
Decided October 20, 1959.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
PER CURIAM:
For the reasons stated by Judge Oppenheimer in his opinion in the Criminal Court of Baltimore for denying Shifflett's application under the Post Conviction Procedure Act, his application for leave to appeal from the order denying relief is denied as to the contentions there presented. His contention that his hearing on his application was invalid because he was not present is untenable. His presence was not necessary. Code (1959 Supp.), Art. 27, Section 645G; Plump v. Warden, 220 Md. 662, 153 A.2d 269, 270. Other contentions not presented in the trial court are not properly before this Court and will not be considered by this Court. Young v. Warden, 218 Md. 636, 145 A.2d 238.
Application denied.
